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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                       Plaintiffs,
         v.
                                               Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                       Defendants.



   SUPPLEMENTAL BRIEF ON PLAINTIFFS’ REQUEST FOR LEAVE TO FILE A
                       MOTION TO COMPEL
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        Plaintiffs have obtained extensive information and documents from Defendants about the

current physical location and custodial status of Abrego Garcia and what steps Defendants have

taken, are currently taking, and will take to facilitate Abrego Garcia’s return to United States

custody. As a result, expedited discovery has served its purpose—Plaintiffs know that Defendants

have complied with this Court’s preliminary-injunction order. But, notwithstanding the purpose

and scope of expedited discovery, Plaintiffs’ counsel is attempting to pry into the privileged inner

workings of the U.S. government apparatus and its communications with a foreign government,

regardless of the likely harm this would do to the United States’ national-security and foreign-

affairs interests, its relationships with foreign sovereigns, and even to Abrego Garcia. The Court

should deny Plaintiffs’ request.

        In the parties’ May 7, 2025, letter to the Court, Plaintiffs requested an order compelling

Defendants to: (1) fully answer Interrogatory Nos. 1–7 and respond to RFP Nos. 1–2 and 12, which

“concern Defendants’ actions to facilitate Abrego Garcia’s release and return,” and (2) fully

answer Interrogatory Nos. 9–11 and respond to RFP Nos. 6–8, which “concern the agreement with

El Salvador related to Abrego Garcia’s confinement.” ECF No. 112. Defendants have already

provided Plaintiffs with robust interrogatory responses showing that Defendants are complying

with this Court’s order to facilitate Abrego Garcia’s release from custody in El Salvador and return

him to United States custody. 1 Defendants have also produced responsive, non-privileged

documents that could be located after a reasonable search. Granting Plaintiffs the supplemental

information and documents they now seek would not advance any legitimate end of expedited

discovery. Nearly all the additional materials Plaintiffs demand are protected by the state secrets




1
 Defendants designated their responses to Plaintiffs’ amended interrogatories as “Confidential” under the stipulated
protective order and can make them available to the Court if helpful.

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and deliberative process privileges and so cannot be produced. The Court should deny Plaintiffs’

request for leave to file a motion to compel.

                                           BACKGROUND

       On April 15, the Court ordered expedited discovery limited to “(1) the current physical

location and custodial status of Abrego Garcia; (2) what steps, if any, Defendants have taken to

facilitate Abrego Garcia’s immediate return to the United States; and (3) what additional steps

Defendants will take, and when, to facilitate his return.” ECF No. 79 at 7. Plaintiffs served 15

interrogatories and 14 requests for production of documents, ECF No. 98-1, and Defendants

objected and responded, ECF No. 98-2. After ruling on Defendants’ objections, providing guidance

on privilege assertions, and instructing Plaintiffs to narrow Interrogatory Nos. 9–11 and RFP Nos.

6–8, ECF No. 100, the Court stayed discovery for seven days, ECF No. 103.

       Plaintiffs served amended interrogatories and requests for production, Ex. A, ECF No. 112-

1; Ex. B, ECF No. 112-2, and on April 30, the Court lifted the stay and ordered Defendants to

“answer and respond to all outstanding discovery requests and supplement their invocation of

privilege(s), consistent with the Court’s Order at ECF No. 100, by no later than Monday, May 5,

2025,” ECF No. 107 at 1. Defendants served their objections and responses on May 5. Ex. C, ECF

No. 112-3; Ex. D, ECF No. 112-4. The parties were unable to resolve the discovery dispute at their

May 6 meet and confer, so they filed a joint discovery dispute letter. See ECF No. 112 at 1. In

response, the Court entered an order directing the parties to file simultaneous briefs by May 12,

2025, “addressing the legal and factual bases for the invocation of [the state secrets and deliberative

process] privileges, including Plaintiff’s request for the Court to conduct in camera review of the

withheld documents.” ECF No. 115 at 1.




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                                            DISCUSSION

       Plaintiffs seek leave to file a motion to compel Defendants to provide additional

information and documents about two principal issues: first, Defendants’ domestic and foreign

affairs actions to “facilitate Abrego Garcia’s release and return” to United States custody, see

Interrogatory Nos. 1–7 and RFP Nos. 1, 4, and 12; and second, the United States’ “agreement with

El Salvador related to Abrego Garcia’s confinement,” see Interrogatory Nos. 9–11 and RFP Nos.

6–8; Ex. C, ECF No. 112-3; Ex. D, ECF No. 112-4.

       Regarding the first issue, Defendants have gone to great lengths to coordinate internally

and respond to Plaintiffs’ discovery requests. Defendants have already produced over 1,000 pages

of documents, logged 1,140 documents on a privilege log, and intend to make further productions

as soon as practicable. ECF No. 112 at 3. Defendants explained in their interrogatory responses

that




                                                                                      Ex. C. at 3–

5, ECF No. 112-3. Defendants provided



                                                                                           Id. at 9–

10.



                                                                       Id. at 12–13. These fulsome

responses easily comply with Defendants’ obligations under the Federal Rules, even though

Defendants’ have         withheld   some   additional   responsive   information   under    several

applicable privileges.
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       Defendants have also made Robert L. Cerna, Evan C. Katz, Michael G. Kozak, and Joseph

N. Mazzara available for deposition. Defendants’ counsel never instructed Mr. Mazzara not to

answer any of plaintiffs’ questions based on the state secrets or deliberative process privileges, and

while Mr. Katz and Mr. Cerna were instructed not to answer certain questions based on those

privileges, they were permitted to answer questions peripheral to facts that may have been

privileged. Plaintiffs have yet to notice Ambassador Kozak’s deposition.




                  Under Federal Rule of Civil Procedure 33(d), Defendants will refer to these

documents in an updated response to Interrogatory Nos. 9 and 11.

       Plaintiffs now have all the information they need to confirm that Defendants have complied

with the Court’s preliminary injunction. To be sure, Defendants have withheld some information

and several documents under the state secrets and deliberative process privileges, but only because

those materials reflect the granular details of the Department of State’s implementation of the

Court’s order or the internal decision-making process regarding such implementation, which

Plaintiffs do not need and may not discover regardless. Unsatisfied with Defendants’ responses,

Plaintiffs now seek to compel privileged information. The Court should deny their request.

I.     Defendants properly raised and withheld documents and information subject to the
       state secrets privilege.

       “The state secrets privilege permits the Government to prevent disclosure of information

when that disclosure would harm national security interests.” United States v. Zubaydah, 595 U.S.

195, 204 (2022) (quoting United States v. Reynolds, 345 U.S. 1, 10–11 (1953)). Although


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developed at common law, the state secrets privilege “performs a function of constitutional

significance, because it allows the executive branch to protect information whose secrecy is

necessary to its military and foreign-affairs responsibilities.” El-Masri v. United States, 479 F.3d

296, 303 (4th Cir. 2007). It “provides exceptionally strong protection because it concerns ‘areas of

Art. II duties [in which] the courts have traditionally shown the utmost deference to Presidential

responsibilities.’” Id. (quoting United States v. Nixon, 418 U.S. 683, 710 (1974)). “[T]he

Executive’s constitutional authority is at its broadest in the realm of military and foreign affairs.”

El-Masri, 479 F.3d at 303. And “the judiciary’s role as a check on presidential action in foreign

affairs is limited.” Id. (citing Jama v. Immigr. & Customs Enf’t, 543 U.S. 335, 348 (2005)

(recognizing judiciary’s “customary policy of deference to the President in matters of foreign

affairs”); Chi. & S. Air Lines, Inc. v. Waterman S.S. Corp., 333 U.S. 103 (1948) (prescribing limited

judicial role in foreign policy matters, especially those involving “information properly

held secret”)).

       Courts conduct a three-step analysis to assess state secrets privilege claims. Abilt v. CIA,

848 F.3d 305, 311 (4th Cir. 2017). First, the court must determine whether the government has

satisfied the procedural requirements for invoking the privilege. Id. at 311. “To assert the

privilege,” and satisfy the procedural requirements for invoking it, “the Government must [make

a] ‘formal claim of privilege, lodged by the head of the department which has control over the

matter, after actual personal consideration by that officer.’” Zubaydah, 595 U.S. at 205 (quoting

Reynolds, 345 U.S. at 7-8).

       Second, the court must decide whether the information the government seeks to shield is a

state secret. Abilt, 848 F.3d at 311–12. When doing so, the court must “honor the Executive’s

assertion of the privilege if it is satisfied from all the circumstances of the case that there is a



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reasonable danger that compulsion of the evidence will expose military matters which, in the

interest of national security, should not be divulged.” Id. at 312 (quotation omitted). “Frequently,

the explanation of the department head who has lodged the formal privilege claim, provided in an

affidavit or personal declaration, is sufficient to carry the Executive’s burden.” Id. Deferring to the

Executive makes sense practically, as well as constitutionally, because it is in a superior position

to evaluate the consequences of releasing sensitive information. See El-Masri, 479 F.3d at 305.

Once the government satisfies its burden, “the claim of privilege will be accepted without requiring

further disclosure” so as not to force disclosure “of the very thing the privilege is designed to

protect.” Abilt, 848 F.3d at 313 (quoting Reynolds, 345 U.S. at 7–9).

       And third, if the information is privileged, then “the ultimate question . . . is how the matter

should proceed in light of the successful privilege claim.” Abilt, 848 F.3d at 315. “Information that

is properly privileged under the state secrets doctrine ‘is absolutely protected from disclosure—

even for the purpose of in camera examination by the court.’” Id. at 313; see also Reynolds, 345

U.S. at 10 (“When . . . the occasion for the privilege is appropriate, . . . the court should not

jeopardize the security which the privilege is meant to protect by insisting upon an examination of

the evidence, even by the judge alone, in chambers.”); FBI v. Fazaga, 595 U.S. 344, 358 (2022).

The “need” for the information at issue is only relevant to “help the court determine how deeply

to probe the details of, and basis for, the Government’s privilege claim.” Zubaydah, 595 U.S. at

209–10; see also Reynolds, 345 U.S. at 11 (“[E]ven the most compelling necessity cannot

overcome the claim of privilege.”). “Where necessity is dubious at most, a formal claim of

privilege demonstrating a reasonable possibility of harm to national security will have to prevail.”

Zubaydah, 595 U.S. at 205 (cleaned up).




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           Plaintiffs object to Defendants assertion of the state secrets privilege with respect to

Interrogatory Nos. 1–7 and RFP Nos. 1, 4, and 12, which concern “Defendants’ actions to facilitate

Abrego Garcia’s release and return,” and Interrogatory No. 10 and RFP Nos. 6–7, which concern

“the agreement with El Salvador related to Abrego Garcia’s confinement.” ECF No. 112 at 1–2.2

As explained above, Defendants have already provided robust interrogatory responses, deposition

testimony, and produced documents, giving Plaintiffs everything they need to understand

Defendants’ efforts to facilitate Abrego Garcia’s release from custody in El Salvador and return to

United States custody.

           The first category of requests calls for “information regarding the details of the United

States’ diplomatic outreach to El Salvador and the content of discussions with individuals in the

government of El Salvador regarding efforts to facilitate Mr. Abrego Garcia’s release from

custody,” his “return to . . . the United States,” his “continued confinement in CECOT,” and “the

removal of individuals to El Salvador.” Ex. C at 2–12, 15, ECF No. 112-3; see also Ex. D at 4, 8,

18, ECF No. 112-4. These requests implicate functions at the core of the Executive Branch’s

foreign affairs powers and call for information and documents that are protected by the state secrets

privilege. The second category of requests, relating to the government’s “agreement” with El

Salvador related to Abrego Garcia’s confinement, concerns documents that,




2
    Defendants did not assert the state secrets privilege with respect to Interrogatory Nos. 9 and 11, and RFP No. 8.

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         Defendants have satisfied the procedural requirements for invoking the state secrets

privilege by submitting Secretary of State Marco Rubio’s declaration. Ex. E, ECF No. 112-5;

Zubaydah, 595 U.S. at 205. In his declaration, Secretary Rubio affirms that, as head of the

Department of State and after actual personal consideration of the supplemental information and

documents that are responsive to Plaintiffs’ discovery requests, disclosure of such materials

“reasonably could be expected to cause significant harm to the foreign relation[s] and national

security interests of the United States.” Ex. E at 3–4, ECF No. 112-5. He states that negotiations

concerning the removal of individuals to a foreign country involve “sensitive issues, such as the

nature of the working relationship between the United States and the destination country’s

government and migration policies . . . ; sensitive factual details or foreign policy priorities . . . ,”

such as “the categories of individuals a country may be willing to consider accepting . . . .” Id. at

4. Compelled disclosure of those sensitive communications with the government of El Salvador

regarding Abrego Garcia’s removal and confinement, information regarding the details of

discussions concerning the steps the United States has taken or intends to take to facilitate his

return, internal U.S. government discussions planning communications with the Salvadoran

government, and the identities of government officials involved would harm the United States’

foreign-affairs and national-security interests. Id. Specifically, Secretary Rubio feared that if this

information were disclosed, foreign governments would be less likely to work cooperatively with

the United States in the future because the disclosure would be viewed as a breach of trust. Id. at

6. Further, if that kind of information could be revealed with the mere filing of a lawsuit, it would

hinder the United States’ ability to make assurances regarding confidentiality in the future.3 Id.



3
  While certain Executive Branch officials have made public comments about immigration policy and foreign outreach
related to Abrego Garcia, none of those statements reveal or were intended to reveal the inner working of the
Department of State’s foreign affairs apparatus or sensitive details about its ongoing interactions with the Salvadoran

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        The information Defendants seek to shield are state secrets. See Abilt, 848 F.3d at 312

(explaining that often “the explanation of the department head who has lodged the formal privilege

claim, provided in . . . [a] personal declaration, is sufficient to carry the Executive’s burden”). As

stated, Secretary Rubio explained in his declaration that compelled disclosure of the information

that Plaintiffs seek would harm the United States’ foreign relations and national security because

it would be viewed as a breach of trust and discourage El Salvador and other foreign states from

working cooperatively with the United States in the future. Ex. E at 6, ECF No. 112-5. Similarly,

if third parties can obtain the kind of information Plaintiffs seek, such as the content of ongoing

diplomatic negotiations, that would erode the United States’ credibility by invalidating its

assurances that information will remain confidential. Id. An erosion of that kind would “impede

the ability of the United States to secure the cooperation of foreign authorities in critical

operations.” Id. “There is no question that information that would result in . . . disruption of

diplomatic relations with foreign governments falls squarely within the definition of state secrets.”

Sterling v. Tenet, 416 F.3d 338, 346 (4th Cir. 2005) (quotation omitted).

        Because the information Plaintiffs seek is privileged, it is protected from disclosure—

“even for the purpose of in camera examination by the court.” Abilt, 848 F.3d at 313; see also

Reynolds, 345 U.S. at 10. Plaintiffs contend, however, that in camera review is appropriate, and

that this Court should not “lightly accept[ ]” Defendants’ claim of privilege in view of their “strong

showing of necessity.” ECF No. 112 at 2. But “need” is only relevant to “help the court determine

how deeply to probe the details of . . . the Government’s privilege claim.” Zubaydah, 595 U.S. at

209–10. Here, Plaintiffs’ necessity is “dubious” at best. Defendants have already confirmed that,




government regarding the release of Abrego Garcia. That information and those communications must remain state
secrets, notwithstanding Plaintiffs’ attempt to discover them here.

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                                              See Ex. C at 3, ECF No. 112-3. Defendants have already

provided Plaintiffs ample documents and information confirming their compliance with this

Court’s preliminary injunction. Plaintiffs need not know the sensitive details of Defendants’

diplomatic negotiations, for example, to continue to pursue their claims. Thus, “a formal claim of

privilege demonstrating a reasonable possibility of harm to national security will have to prevail.”

Zubaydah, 595 U.S. at 205 (cleaned up).



         Nevertheless, Plaintiffs argue the Court should overrule Defendants’ assertion of the state

secrets privilege because invoking the privilege “requires a declaration from ‘the head of the

department which has control over the matter,’” and Defendants have not served a declaration from

DHS or DOJ. ECF No. 112 at 2 (quoting Zubaydah, 595 U.S. at 205). And “Secretary Rubio’s

declaration fails to show a ‘reasonable danger of harm to national security.’” Id. (quoting

Zubaydah, 595 U.S. at 205). Asserting the state secrets privilege requires the agency “which has

control over the matter” to submit a declaration formally invoking the privilege. Zubaydah, 595

U.S. at 205 (emphasis added). The Department of State is the agency with custody of the most

relevant materials to which the state secrets privilege applies. DHS and DOJ, therefore, need not

submit independent declarations.4

         Finally, Plaintiffs contend that Secretary Rubio’s declaration fails to show a reasonable

danger of harm to national security. But Secretary Rubio explained in detail how disclosure of the



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  Even if agencies other than the one “with control over the matter” were required to submit declarations to support
invoking the state secrets privilege, the DOJ only acts as legal counsel for the other Defendants in this litigation and
is not substantively involved in the communications with El Salvador or operations entailed with facilitating Abrego
Garcia’s release and return to United States custody. Furthermore, DHS submitted a state secrets declaration in J.G.G.,
et al. v. Trump, et al., No. 25-cv-00766-JEB (D.D.C.), which Defendants have invoked and applies equally to establish
the state secrets privilege in this case.

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information Plaintiffs seek would damage United States’ foreign relations. Foreign-relations

concerns “fall[ ] squarely within the definition of state secrets,” Sterling, 416 F.3d at 346, as they

are intimately intertwined with issues of national security. See Mathews v. Diaz, 426 U.S. 67, 82

n.17 (1976) (“(A)ny policy toward aliens is vitally and intricately interwoven with

contemporaneous policies in regard to the conduct of foreign relations, the war power, and the

maintenance of a republican form of government. Such matters are so exclusively entrusted to the

political branches of government as to be largely immune from judicial inquiry or interference.”).

Defendants therefore have satisfied the threshold requirement to invoke the state secrets privilege.

The Court should deny Plaintiffs’ request for leave to file a motion to compel the disclosure of

state secrets.

II.     Defendants have properly withheld documents, and descriptions of information
        contained within those documents, subject to the deliberative process privilege.

        The deliberative-process privilege “protect[s] the quality of administrative decisionmaking

by ensuring that it is not done ‘in a fishbowl.’” City of Virginia Beach v. U.S. Dep’t of Com., 995

F.2d 1247, 1252 (4th Cir. 1993). It “encourages free-ranging discussion of alternatives; prevents

public confusion that might result from the premature release of such nonbinding deliberations;

and insulates against the chilling effect likely were officials to be judged not on the basis of their

final decisions, but ‘for matters they considered before making up their minds.’” Id. at 1252–53.

The privilege prevents the disclosure of “recommendations, draft documents, proposals,

suggestions, and other subjective documents which reflect the personal opinions of the writer

rather than the policy of the agency,” Ethyl Corp. v. E.P.A., 25 F.3d 1241, 1248 (4th Cir. 1994), to

safeguard “the candor of agency deliberations in the future,” Petroleum Info. Corp. v. U.S. Dep’t

of Interior, 976 F.2d 1429, 1436 n.8 (D.C. Cir. 1992).




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           To successfully invoke the privilege, “the government must show that, in ‘the context in

which the materials are used,’ the documents are both predecisional and deliberative.” City of

Virginia Beach, 995 F.2d at 1253. “Predecisional documents are ‘prepared in order to assist an

agency decisionmaker in arriving at his decision.’” Id. But “the line between pre-decisional

documents and postdecisional documents may not always be a bright one,” N.L.R.B. v. Sears,

Roebuck & Co., 421 U.S. 132, 153 n.19 (1975), and “the existence of the privilege” does not

“turn[ ] on the ability of an agency to identify a specific decision in connection with which a

memorandum is prepared,” id. at 153 n.18. Material is deliberative if it “reflects the give-and-take

of the consultative process,” and “reveal[s] the manner in which the agency evaluates possible

alternative policies or outcomes.” City of Virginia Beach, 995 F.2d at 1253.

           The deliberative-process and state secrets privileges are sometimes overlapping grounds to

withhold the same documents and information in this case because much of the deliberative

material concerns state secrets. Plaintiffs object to Defendants’ assertion of the deliberative-

process privilege with respect to Interrogatory Nos. 1–5 and 7 and RFP Nos. 1, 2, and 12, which

“concern Defendants’ actions to facilitate Abrego Garcia’s release and return,” and RFP Nos. 6–

8, which “concern the agreement with El Salvador related to Abrego Garcia’s confinement.”5 ECF

No. 112 at 1–2. As explained in the state secrets privilege discussion, the second category of

requests, relating to what the Plaintiffs have termed the government’s “agreement” with El

Salvador,




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    Defendants did not assert deliberative process privilege with respect to Interrogatory Nos. 6 or 9–11.

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       RFP Nos. 1 and 2 ask Defendants to produce “[a]ll documents concerning each action

[they] have already taken, or plan to take in the future, to Facilitate Abrego Garcia’s release from

custody in El Salvador” and “return to the United States.” Ex. D at 3–4, ECF No. 112-4. This

request asks for the production of all documents related to those topics without qualification. This

would include “recommendations, draft documents, proposals, suggestions, and other subjective

documents,” Ethyl Corp.., 25 F.3d at 1248, exploring alternative policies that were created before

decisions had been made concerning past actions and those evaluating future decisions. The

deliberative process privilege covers documents that would be responsive to both requests.

       RFP No. 12 asks for “[a]ll documents reflecting non-privileged discussions about any court

order in this case, including the Supreme Court’s order dated April 10, 2025.” Ex. D. at 18, ECF

No. 112-4. But as Defendants noted in their response to the request, privileged documents may

include non-privileged discussions. Id. This broad request therefore does not exclude documents

prepared to assist Defendants in determining how best to comply with a court order or considering

different policy decisions in light of a court order, for example. The privilege therefore also covers

documents responsive to this request.

       Plaintiffs also object to Defendants’ assertion of the deliberative process privilege in

response to RFP Nos. 6–8. ECF No. 112 at 2. RFP No. 6 requests “[a]ll documents concerning any

agreement, arrangement, or understanding between the governments of the United States and El

Salvador related to the removal and confinement in El Salvador of Abrego Garcia and any other

individuals who were transported with him on March 15, 2025, including . . . the memorandum

issued by El Salvador’s Ministry of Foreign Affairs . . . .” Ex. D at 9–10, ECF No. 112-4. RFP No.

7 asks for “[a]ll documents concerning the rights the government of the United States possesses,

retains, or has exercised with respect to Abrego Garcia and any other individuals who were



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transported with him on March 15, 2025, including . . . Documents concerning the decision-making

authority over the long term disposition of Abrego Garcia and any other individuals who were

transported with him . . . .” Id. at 11. And RFP No. 8 seeks “[a]ll documents reflecting payments

[Defendants] made (or payments that are to be made) in connection with any agreement,

arrangement, or understanding responsive to Interrogatory No. 9,” id. at 12, which requests a

description of “any agreement . . . between the governments of the United States and El Salvador

to confine in El Salvador individuals removed or deported from the United States . . . ,” Ex. C. 13,

ECF No. 112-3. Each of these three requests would cover documents “prepared to assist”

Defendants in “arriving at [their] decision[s]” and considering possible alternatives related to:

entering into an arrangement with El Salvador concerning “the removal and confinement of

Abrego Garcia and other individuals”; the rights Defendants possess or exercise with respect to

Abrego Garcia and other individuals transported to El Salvador, and their long-term disposition;

and financial arrangements with El Salvador concerning the confinement of individuals deported

from the United States. See Quarles v. Dep’t of Navy, 893 F.2d 390, 392 (D.C. Cir. 1990)

(explaining that courts have permitted withholding even factual material such as cost estimates

when disclosure “would expose an agency’s decisionmaking process in such a way as to

discourage candid discussion within the agency and thereby undermine the agency’s ability to

perform its functions”).

                                   but the documents reflecting the deliberative process in arriving

at those arrangements remain privileged. The deliberative process privilege applies to documents

responsive to all three of these requests.

       “[T]he [deliberative process] privilege serves to protect the . . . process itself, not merely

documents containing deliberative material.” Mapother v. Dep’t of Just., 3 F.3d 1533, 1537–38



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(D.C. Cir. 1993) (explaining that factual material may be withheld “on the ground that its

disclosure would expose an agency’s policy deliberations to unwarranted scrutiny”). Thus, it may

be asserted to prohibit the disclosure of information revealing the nature of agency deliberations.

See Franklin Sav. Ass’n v. Ryan, 922 F.2d 209, 211 (4th Cir. 1991); BPS v. Bd. of Trs. for Colorado

Sch. for Deaf & Blind, 2013 WL 5486228, at *1 (D. Colo. Oct. 1, 2013) (holding that “information

which is protected by . . . the deliberative process privilege need not be provided in response to

these Interrogatories”). Such is the case here with Plaintiffs’ interrogatories.

       Interrogatory Nos. 1 through 4 ask Defendants to “[d]escribe with particularity each action”

they “have already taken [and plan to take], and when, to Facilitate Abrego Garcia’s release from

custody in El Salvador” and “return to the United States.” Ex. C. 2–6, ECF No. 112-3.

“Describ[ing] with particularity each action” taken in past or future service of those two objectives

arguably includes things like phone calls Defendants may have made or intend to make and

proposals they have offered or intend to offer before committing to a particular course of conduct.

Those actions would be predecisional because they would have been carried out or will be carried

out to assist the decisionmaker in determining the best way to facilitate Abrego Garcia’s release

and return. And they would be deliberative because they would reveal information about

Defendants’ evaluation of alternative policies. The deliberative process privilege therefore

properly applies to information requested by Interrogatory Nos. 1 through 4.

       The privilege applies similarly to information requested by Interrogatory No. 5, which asks

Defendants to “[i]dentify and describe the role of each individual who has been involved, or whom

[they] anticipate will become involved, in any of the actions responsive to Interrogatory Nos. 1–4

or in ordering or authorizing Abrego Garcia’s removal to El Salvador, his initial placement in

CECOT, or his continued confinement in CECOT.” Id. at 8. Describing the role of each individual



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who has been involved, or whom Defendants anticipate will be involved, could arguably require

Defendants to disclose things like the nature of phone calls, proposals, or recommendations made

to explain that individual’s role. For the reasons explained above, those actions, and the

individuals’ involvement in those actions, would reveal predecisional, deliberative information.

Thus, the deliberative process privilege also protects information requested by Interrogatory No.

5.

        Interrogatory No. 7 is even more expansive. It asks Defendants to “[d]escribe with

particularity each Communication [they] have had with anyone in the government of El Salvador

or at CECOT concerning Abrego Garcia, including when, in what form, by whom, and to whom.”

Id. at 11. Describing “with particularity” each communication with El Salvadoran government

officials would require Defendants to reveal discussions that occurred to help decisionmakers

arrive at a decision and reveal alternatives considered. Interrogatory No. 7, therefore, also calls for

information protected by the deliberative process privilege.

        Still, Plaintiffs claim the privilege does not apply here because “there is reason to believe

government misconduct has occurred,” ECF No. 112 at 3 (quoting Tri-State Hosp. Supply Corp.

v. United States, 226 F.R.D. 118, 135 (D.D.C. 2005); the “privilege yields where . . . Plaintiffs

have a compelling need for the discovery,” id. (citing NAACP v. Bureau of the Census, 401 F.

Supp. 3d 608, 617–18 (D. Md. 2019); and Defendants “have not carried their burden of showing

the requested discovery is deliberative and predecisional (such as by submitting a declaration that

the discovery pertains to some final decision),” id. (citing NAACP, 401 F. Supp. 3d at 611–17).

Not so—Defendants have no reasonable basis to believe that any government misconduct has

occurred and there is no compelling need to obtain the supplemental discovery materials

Plaintiffs seek.



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       First, though “the deliberative process privilege yields . . . when government misconduct

is the focus of the lawsuit,” Tri-State Hosp. Supply Corp., 226 F.R.D. at 134, that exception does

not apply to this case. The scope of misconduct is not clearly defined within the meaning of the

exception, but it has been applied to “circumstances of extreme government wrongdoing.” ICM

Registry, LLC v. U.S. Dep’t of Com., 538 F. Supp. 2d 130, 133 (D.D.C. 2008) (citing Alexander v.

FBI, 186 F.R.D. 154, 164–65 (D.D.C. 1999) (no privilege where documents related to misuse of

a government personnel file to discredit a witness in an ongoing investigation of Clinton

administration); Tax Reform Research Grp. v. IRS, 419 F. Supp. 415, 426 (D.D.C. 1976) (no

privilege where documents concerned recommendation to use the powers of the IRS in a

discriminatory fashion against “enemies” of the Nixon administration)); see also In re Subpoena

Duces Tecum Served on Off. of Comptroller of Currency, 145 F.3d 1422, 1425 n.2 (D.C. Cir. 1998)

(explaining that “misconduct” implies “nefarious motives”). The exception must be applied

narrowly because otherwise, “every hint of marginal misconduct [would] suffice[ ] to erase the

privilege” and “the exception would swallow the rule.” ICM Registry, 538 F. Supp. 2d at 133.

Plaintiffs assert that Defendants unlawfully removed Abrego Garcia from the United States to El

Salvador, in violation of the withholding of removal statute and his procedural and substantive due

process rights, resulting in arbitrary and capricious agency action. Compl. 16–20, ECF No. 1. But

not every challenge to the lawfulness of the government’s conduct involves extreme wrongdoing

or implies nefarious motives. From the outset, Defendants admitted that Abrego Garcia’s removal

to El Salvador was an administrative error considering his withholding of removal protection. It

was an administrative error, not egregious misconduct.

       Second, Plaintiffs cannot demonstrate that they have a compelling need for the discovery.

Once the government “makes a sufficient showing of entitlement to the privilege,” the party



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challenging the assertion of the deliberative process privilege bears the burden of demonstrating

sufficient need to overcome the government’s interest in non-disclosure. See Redland Soccer Club,

Inc. v. Dep’t of the Army, 55 F.3d 827, 854 (3d Cir. 1995). In balancing these interests, courts

consider: “(1) the relevance of the evidence to the lawsuit; (2) the availability of alternative

evidence on the same matters; (3) the government’s role (if any) in the litigation, and (4) ‘the extent

to which disclosure would hinder frank and independent discussion regarding contemplated

policies and decisions.’” Cipollone v. Liggett Grp. Inc., 1987 WL36515, at *2 (4th Cir. Feb. 13,

1987) (quoting FTC v. Warner Communications, Inc., 742 F.2d 1156, 1161 (9th Cir. 1984)). First,

much of the information protected by the deliberate-process privilege that Plaintiffs seek is not

relevant. The Court ordered expedited discovery on “(1) the current physical location and custodial

status of Abrego Garcia; (2) what steps, if any, Defendants have taken to facilitate Abrego Garcia’s

immediate return to the United States; and (3) what additional steps Defendants will take, and

when, to facilitate his return.” ECF No. 79 at 7. Defendants’ predecisional, deliberative

considerations, which the language of Plaintiffs’ requests captures, are not relevant to the topics

the Court has limited discovery to. Second, Defendants have cooperated to make evidence

available to Plaintiffs on the Court’s designated topics. Plaintiffs have had the opportunity to take

discovery on the topics the Court has allowed. Defendants have made four individuals available

for depositions, and Plaintiffs have yet to notice the deposition of Mr. Michael Kozak. Defendants

also responded to Plaintiffs’ discovery requests to the extent they did not call for privileged

material. In fact, Defendants produced 1,027 pages of documents and logged 1,140 documents on

a privilege log. ECF No. 112 at 3. Third, the government is an active participant in this litigation,

and last, disclosing Defendants’ predecisional deliberations related to their “actions to facilitate

Abrego Garcia’s release and return,” and enter into an “agreement with El Salvador related to



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Abrego Garcia’s confinement,” involve weighty foreign policy concerns, see supra I, the

disclosure of which would greatly “hinder frank and independent discussion regarding

contemplated policies and decisions,” Cipollone v. Liggett Grp. Inc., 1987 WL36515, at *2.

Plaintiffs cannot demonstrate they have a sufficient need for information reflecting Defendants’

deliberative processes to overcome Defendants’ interest in non-disclosure.

       Finally, Plaintiffs mistake what Defendants’ burden requires at this stage. The government

bears the initial burden to show the privilege applies. Redland Soccer Club, Inc., 55 F.3d at 854.

To meet that burden “the government must present more than a bare conclusion or statement that

the documents sought are privileged.” Id. Defendants have just explained how the privilege applies

to materials sought by each of the interrogatories and requests Plaintiffs identified. Beyond that,

Defendants need not submit a declaration in support of their deliberative process privilege

assertion until Plaintiffs move to compel the privileged documents and responses. See In re Sealed

Case, 121 F.3d 729, 741 (D.C. Cir. 1997) (holding that the White House was not obligated to

“formally invoke its [executive] privileges in advance of the motion to compel;” it was sufficient

that it said, in response to a subpoena, that it “believed the withheld documents were privileged”);

Huntleigh USA Corp. v. United States, 71 Fed. Cl. 726, 727 (2006) (procedural requirements for

privilege assertion are satisfied through the production of a declaration or affidavit in response to

a motion to compel); Tri-State Hosp. Supply Corp. v. United States, 226 F.R.D. 118, 134 n.13

(D.D.C. 2005). But even though no motion to compel has been filed, and the Court should deny

Plaintiffs’ request for leave to file one, Defendants will provide Secretary of State Rubio’s

declaration asserting the deliberative process privilege to the Court if that would be helpful.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ request for leave to file a

 motion to compel.
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 Dated: May 12, 2025                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on May 12, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


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